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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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FERRING B . V., FERRING
INTERNATIONAL CENTERS . A., and                          17 Civ . 9922
FERRING PHARMACEUTICALS INC .,
                                                         OP I NI ON and ORDER
                   Plaintiffs and Counter -
                   Defendants ,

     - against -


SERENITY PHARMACEUTICALS , LLC,
REPRISE BIOPHARMACEUTICS , LLC ,
AVADEL SPEC I ALTY PHARMACEUTICALS , LLC
                                                d
                                                ' J

                                                 11:1.        f A   .r .Y FILED
                   Defendants and                   D
                   Counterclaimants .
                                                 loAI     {   .


APPEARANCES :

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Sweet, D.J.



                Plaintiffs Ferring B.V ., Ferring International Center

S . A ., and Fer ring Pharmaceuticals Inc .       ("Fer ring," the

"Plaintiffs," o r the "Counter-Defendants") have moved f o r leave

to amend their first amended complaint of June 30 , 2017             ("First

Amended Complaint" or "FAC" ) and to reply to counterclaims ,

affirmative defenses , and amended counterclaims of Defendants

Serenity Pharmaceuticals , LLC, Reprise Biopharmaceutics LLC, and

Avadel Specialty Pharmaceuticals LLC ("Serenity " or

"Defendants" ) . ECF No . 221 .



                Based on the conclusions set forth below , Plaint i ff 's

motion is denied .



   I.       Prior Proceedings



                Familiarity with the facts of this case and the

related 2012 case , Ferring B. V. v . Allergan , Inc., No . 12 Civ .

2650     (RWS ) ,   (the " 2012 Action")   is assumed . The following

summary is provided only as necessary to resolve the pending

motions .




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             On April 28 , 2017 Ferring commenced this action in the

District of Delaware against Allergan , Inc .        (" All ergan " ) ,

Serenity , and Reprise , seeking a declaratory judgment of patent

invalidity, unenforceability, and non-infringement with respect

to United States Patent No . 7 , 405 , 203 (t he "20 3 Patent " ) , United

States Pa tent No . 7 , 579 , 321 (the " 321 Patent " ) , and United

States Patent No. 7 , 799 , 761 (" the 761 Patent " )    (together , the

"Patents in Suit"). See generally Pl. Comp l., ECF No . l.



             Ferring amended its complaint on June 30 , 2017 . ECF

No . 18.



             After briefing from parties o n the issue of

jurisdiction in Delaware and transferability , the case was

transferred to this Distri ct where it was designated related to

the 2012 Action . See ECF Nos . 25 - 27 , 58 . Around the same time ,

Allergan was volunta rily dismissed from the case . ECF No . 35 .



             Following much dispute over whether Ferring's NOCDURNA

drug would be approved , and with Serenity ' s motion to dismiss

for lack of jurisdiction pending , Ferring received FDA approval

of its New Drug Application ("NOA" ) on June 21 , 2018 . SeeECF No .

99 .


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             On June 28 , 2018 Serenity and Reprise , together with

newly-joined patent licensee Avadel Specialty Pharmaceuticals ,

LLC ("Avadel " ) answered Ferring ' s Amended Complaint and asserted

various counterclaims , including patent infringement and willful

patent infringement by NOCDURNA over the 203 Patent and the 321

Patent . ECF No . 101 .



             On July 19 , 2018 , Ferring moved to strike certain of

Serenity ' s defenses and to dismiss certain of its counterc l a i ms ,

including those alleging patent infringement under 35 U. S.C . §

271(a) . ECF No. 114 at 13 - 14 .



             On July 23 , 2018 , Serenity moved for a preliminary

injuncti on to block the commerc ial release of NOCDURNA . ECF No .

117 .



             On August 2 , 2018 , Serenity filed a cross - moti o n to

strike certain of Ferring ' s affirmative defenses asserted in its

July 19 motion to strike and dismiss . ECF No . 136 .



             On August 14 , 2018 , Serenity filed a motion for

judgment on the pleadings . ECF No . 148 .


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              On August 20 , 2018 , Ferring withdrew its July 19 , 2018

motion to strike and dismiss certain of Serenity ' s affirmative

defenses . ECF No . 160 .



              On September 10 , 2018, Ferring moved for summary

judgment on the issue of invalidity under 35 U. S . C . § 112 f or

lack of enablement     (EC F No. 178) and for n on -infringement or,

alternatively , invalidity due to lack of written description

(ECF No. 182) .



              On September 21 , 2018, Serenity moved for judgment on

the pleadings on the issue of co llateral estoppel. ECF No. 206 .



              On October 10, 20 18 , Plaintiffs filed the instant

motion for leave to amend/ correct the First Amended Complaint

and to reply to counterclaims and affirmative defenses. ECF No.

221 . The motion was heard and marked fully submitted on November

13 , 2018 .




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   II.       The Applicable Standard



                 While leave to amend should be " freely given

when justi c e s o requires , " district courts " ha[ve] broad

discretion to decide whether to grant leave to amend ."                          Gurary

v . Winehouse , 235 F . 3d 792 , 801              (2d Cir . 2000) .    Leave to amend

is properly denied in cases of "undue delay , bad faith or

dilatory motive on the part of the rnovant , repeated failure to

cure deficiencies by amendments prev i ously allowed , undue

prejudice to the opposing party by v i rtue of the a l lowance of

the amendment ,          [or] fut il ity of the amendment. "           Ru oto l o v . City

of New York , 514 F . 3d 184 , 191 (2d Cir. 2008)                   (quoting Farnan v .

Davi S   ,   3 71 U . S . 178 , 18 2 ( 19 6 2 ) ) .    However , c o urts have

emphasized the inquiry into prejudice and bad faith over " mere

delay . "      Ru o tolo , 514 F . 3d at 191 (citing to 6 CHARLES ALLEN WRI GHT,

ARTHUR R . MILLER & MARY KAY KANE , FEDERAL PRACTICE AND PROCEDURE : CIVIL 2 D, §

1487 , at 613         (1990 & 2007 Supp . )           (discussing prejudice as " the

most important factor " and "the most frequent reason for denying

leave to amend " )) ; see also State Teachers Ret . Bd . v . Fluor

Corp. ,      654 F . 2d 843 , 856 (2d Cir . 198 1 ) .




                 In determining what constitutes " prejudice ," courts in

this circuit consider whether the assertion of the new claim

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would: " (i) require the opponent to expend significant

additional resources to conduct discovery and prepare for trial ;

(ii) significantly delay the resolution of the dispute; or (iii)

prevent the plaintiff from bringing a timely action in another

jurisdiction ."     Block v . First Blood Associates , 988 F.2d 344 ,

350 (2d Cir . 1993).     When the non - moving party asserts that the

movant is acting in bad faith , "there must be something more

than mere delay or inadvertence for the court to refuse to allow

amendment ," such as seeking to derive some unique tactical

advantage through their amendment .            Primetime 24 Joint Venture

v . DirecTV , Inc. , No . 99 - 3307 , 2000 WL 426396 , *5-*6 (S . D. N.Y .

Apr. 20 , 2000) .    Un less the non - moving party demonstrates

prejudice or bad faith , courts genera ll y allow a party to amend

its complaint .     City of New York v . Grp . Health Inc., 649 F.3d

151 , 157 (2d Cir . 2011)    (citing AEP En ergy Servs . Gas Holding

Co . v . Bank of Am. , N. A., 626 F . 3d 699 , 725 (2d Cir . 2010)).




            The burden of establishing prejudice or bad faith

falls to the party opposing a motion to amend , as does the

burden of estab lishing futility .           See Block , 988 F. 2d at 350 ;

see also Blaskiewicz v . County of Suffolk , 29 F . Supp. 2d 134 ,

137-38   (E .D.N.Y. 1998)   (ci ting Harrison v . NBD Inc ., 990 F.

Supp . 179 , 185 (E.D . N. Y. 1998) .       A proposed amendment is futile

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if it cannot " withstand a motion t o dismiss pursuant to Rule

12(b) (6) ."     Oneida Indian Nation of New York v . City of

Sherrill , 337 F . 3d 139 , 168 (2d Cir. 2003), rev ' d on other

grounds , 544 U. S . 197 (2005)     (citing Ricciuti v . N. Y. C . Transit

Auth ., 941 F . 2d 119 , 123 (2d Cir . 1991)) .     Therefore , " [f]or the

purposes of evaluating futility , the 12(b) (6) standard is

applied : all well pleaded allegations are accepted as true , and

all inferences are drawn in favor of the p l eader ."         E*Trade Fin .

Corp . v. Deutsche Bank AG , 420 F. Supp. 2d 273 , 282         (S . D. N.Y .

2006)     (citing Mills v. Polar Molecular Corp ., 12 F.3d 1170 , 1174

(2d Cir . 1993)) .




               However , "a plaintiff ' s obligation to provide the

grounds of his entitlement to relief requires more than labels

and conclusions ."      Bel l Atl . Corp . v . Twombly , 550 U. S. 544 , 555

( 2007)    ( internal quotation marks omitted) .     A complaint must

contain "sufficient factual matter , accepted as true , to ' state

a claim to relief that is plausible on its face .'"           Ashcroft v .

Iqbal , 556 U. S . 662 , 663 (2009)    (quoting Twombly , 550 U. S . at

570) .




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      III. Ferring's Motion for Leave is Denied




             "[T]he district co urt plainly has discretion t o deny

l eave to amend where the motion is made after an inordinate

delay , no satisfactory explanation is made for the de l ay , and

the amendment would prejudice the defendant ." See , e . g .,

MacDraw , Inc. v . CIT Group Equipment Financing, Inc., 157 F . 3d

956 , 962    (2d Ci r . 199 8) , Foman , 37 1 U. S . at 1 82 . The party

seeking leave to amend has the burden to explain the delay See

id.



             Ferring ' s late-stage amendment-with trial l oomi ng a n d

motions for summary judgment , among others , pending-relies on

facts that have been known for years . After i nitia ll y al l eging

inequ i table conduct against Seymour Fein ("Fein " ) in the Apr il

2017 Complaint (ECF No . 1) , and aga i n i n the FAC (ECF No . 18),

Ferring n ow seeks to "add additional allegations and grounds

supp o rting its unenforceability claims " over the Paten t s in

Suit . See Memo . in Supp . at 4 , ECF No. 4 .



             Ferring's conduct in seeking to amend its compla i nt

constitu t es undue delay . Through the lengthy and o n go in g related

litigati o n, Ferring v. Allergan , No. 12 - cv - 2650 (RWS)       (S . D. N. Y) ,

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which concerns the same under l ying conduct ,    Ferring has been

aware for years of Dr . Fein ' s patents and their prosecution

history. See Ferring v. Allergan,     4 F.Supp.3d 612 ,   633   (RWS)

(S . D. N. Y. 2014). Ferring alleged in that case that "Fein's

patent application did in fact disclose information confidential

and proprietary to Ferring" and "acknowledge[d] that it had

reviewed [and was aware of]    Fein ' s patent application." Id.

Ferring further demonstrated knowledge of the patents -i n - suit ,

arguing that they "contained data that emanated from Ferring,"

including "i nformation that was not in Ferring ' s UK

application ." See id . at 632 .



           To explain the significant delay in asserting the

additional inequitable conduct claim , Ferring claims to have

"waited to plead the additional grounds for its inequitable

conduct claims until after it had more fully developed the

underlying facts. " Pl. ' s Memo in Supp . at 1, ECF No . 222. But

the facts underlying the inequitable conduct c l a i m have been

known for 15 years. 1 In this litigation , which commenced in April


1     The patents - in-suit and their specifications , clinical
trial data , and inventorship origins are old news . See Ferring
v . Allergan , 4 Supp.3d 612 , (S.D . N. Y. 2014) (" in a letter dated
December 9 , 2004 , Ferring's counsel raised concerns that Fein ' s
patent application might include confidential Ferring data") .
The facts required to assert an inequitable conduct claim with
respect to the patent prosecution in this case were available
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2017 , Ferring had the facts necessary to assert the additional

claim of inequitable conduct from the start , having deposed Dr.

Fein over 3.5 years ago in connection with Ferring v. Allergan.

Its explanation is thus unsatisfactory . Cresswe ll v . Sul li van &

Cromwell,   922 F . 2d 60 , 72    (2d Cir . 1990)   (denial of motion for

leave to amend appropriate "where the motion is made after an

inordinate delay ,        [and] no satisfactory explanation is made for

the delay .      . ") .



            That Ferring's motion for leave was filed before the

October 1, 2018 deadline to amend does not preclude a finding of

undue delay . Ferring had the facts necessary to bring this

additional claim at an earlier junction and chose not to.

Ferring's decision to file an eleventh -hour amendment just weeks

before trial-with a panoply of motions pending- constitutes undue

de l ay . See Zahra v . Town of Southhold , 48 F.3d 674 ,     685   (2d Cir .

1995)   ("It was entirely reasonable for the district court to

deny a request to amend a complaint that was filed two and one -

half years after the commencement of the action, and three

months prior to trial ." ) ; see also Ansam Assoc ., Inc. v . Cola

Petroleum , Ltd., 760 F.2d 442        (2d Cir. 1985)   (affirming denial




after Fein's deposition , which concluded over 3 .5 years ago. See
Defs. ' Memo in Opp . at 2 , ECF No . 265.
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of motion to amend filed after close of discovery and with

summary judgment motion pending) .



          District Courts must also "take into account any

prejudice that might result to the party opposing the

amendment." Ansam Assoc . v . Cola , 760 F . 2d at 446 (quoting

Zenith Radio Corp. v . Hazeltine Research, In c ., 401 U. S. 321 ,

330 - 3 (1971)). Were Ferring permitted to amend its complaint for

the second time, t he Defendants would be unfairly prejudiced.

First , the motions pending in this case- and those yet to be

heard-are numerous and include summary judgment, claim

construction , sanctions, motions to strike , and a motion for

judgment on the pleadings . An amended complaint at this stage

could render moot certain of these motions , requiring renewal by

Defendants at great cost to both parties and the Court . The

amendment could l ikewise require supplemental discovery of Dr.

Fein, which would be prejudicial to Defendants .



          In view of the undue delay by Ferring in seeking to

amend its complaint at this late stage-just weeks before trial

after knowing for years the facts underlying the additional

cause of action-and the potential prejudice to Defendants,

Ferring's motion is denied .


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      Conclusion



      For the reasons set forth above , Plainti ff' s motion for

leave to amend its compla int and its counterc l a ims in reply is

denied .



      It   is so ordered .




New York, NY
January    f ,
             2019




                                        ROBERT W. SWEET
                                            U.S.D.J.




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